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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON


Caterpillar Financial Services Corporation                     Civil Action No. 4:19-CV-3750
                               Plaintiff,

         vs.
                                                                IN ADMIRALTY
Offshore Marine Contractors, Inc.
                             Defendant.

                                          VERIFIED COMPLAINT

         Plaintiff, Caterpillar Financial Services Corporation (“Plaintiff” or “Caterpillar”) files this

Verified Complaint against Defendant Offshore Marine Contractors, Inc. (“OMC” or

“Defendant”) and respectfully shows the court as follows:

                                                   PARTIES

         1.        Plaintiff, Caterpillar Financial Services Corporation (“Caterpillar”), is a Delaware

corporation having its principal place of business in Tennessee and is doing business in the State

of Texas.

         2.        Defendant OMC is a Louisiana corporation having its principal place of business

at 133 W. 113th Street, Cut off, Louisiana 70345. OMC has not filed an application for

registration with the Texas Secretary of State as a foreign entity transacting business in Texas

pursuant to Texas Business Organizations code, Title 1, Chapter 9 (Tex. Bus. Orgs. Code

§§9.001 et seq.). OMC is the successor in interest to Glencoe, Inc., the original mortgagor of the

Vessel pursuant to the Articles of Merger dated April 28, 2015 (see Caterpillar’s Complaint in

the underlying litigation filed in the U.S. District Court for the Eastern District of Louisiana,

Civil Action No. 19-855, attached herein as Exhibit A, at Ex. 1.) (“Underlying Litigation”).




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OMC is the owner of the vessel L/B RAIMY EYMARD, bearing Official No. 1249839 and IMO

No. 9696125 (the “Vessel”).

         3.        Garnishee, Arena Offshore, LP, (“Garnishee” or “Arena”) is a Delaware Limited

Partnership authorized to do business in the state of Texas and located at 4200 Research Forest

Drive, Suite 230, The Woodlands, TX 77381.

                                   JURISDICTION AND VENUE

         4.        This is an admiralty and maritime claim within the Court’s jurisdiction pursuant

to U.S.C. § 1333, and within the meaning of Rule 9(h) of the Federal Rules of Civil Procedure;

and Plaintiff further invokes the maritime procedures and special relief provided for in Rule B

and Rule E of the Supplemental Rules for Certain Admiralty and Maritime Claims of the Federal

Rules of Civil Procedure for the garnishment and attachment of Defendant’s property in the

hands of Garnishee Arena.

         5.        Jurisdiction and venue are proper in this Court pursuant to Rule B of the

Supplemental Rules for Admiralty and Maritime Claims because, as more fully pled below,

Defendant cannot be found within the Southern District of Texas; Plaintiff has a maritime lien

against the Vessel, along with her engines, boilers, apparels, etc. arising out of its promissory

note, loan agreement, and first ranking preferred ship mortgage against the Vessel, OMC, and the

Guarantors; and Plaintiff is seeking to attach Defendant’s property within this District to obtain

security for its in personam maritime claims pending in the United States District Court for the

Eastern District of Louisiana as set forth more fully herein. See Agrocooperative Ltd. V.

Sonangol Shipping Angl. (Luanda) Limitada, No. H-14-1707, 2014 U.S. Dist. LEXIS 179874, at

*16 (S.D. Tex. Dec. 15, 2014).




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         6.        Jurisdiction over the Garnishee Arena is sufficient for this Court to issue a Rule B

attachment order to seize and attach property pursuant to Rule E belonging to Defendant in the

possession of Arena. See Stena Rederi AB v. Comision de Contraros del Comite Ejecutivo

General del Sindicato revolucionario de Trabaidores Petroleros de la Republica Mexicana, S.C.,

923 F.2d 380, 391 (5th Cir. 1991) (“In garnishment cases, the court may exercise quasi in rem

jurisdiction to the extent that it has jurisdiction ‘over a person who is indebted to or owes a duty

to the defendant.’”) (quoting Belcher Co. of Alabama, Inc. v. M/V Maratha Mariner, 724 F.2d

1161, 1163–64 (5th Cir. 1984)).

                                         FACTUAL ALLEGATIONS

         7.        Caterpillar is the owner and holder of the Permanent Loan Note dated November

11, 2013 in the principal amount of $10,332,000.00 (the “Loan”), made payable by OMC to the

order of Caterpillar, with principal, interest, attorneys’ fees and costs as set forth more fully

therein. Under the Permanent Loan Note, OMC is obligated to repay the Loan in monthly

installments of principal and interest becoming due in full on March 1, 2018. See Caterpillar’s

Verified Complaint In Rem and In Personam to Enforce Permanent Loan Note, Loan Agreement,

and First Preferred Ship Mortgage, attached as Exhibit A, and incorporated herein by reference.

         8.        OMC also entered into a Loan Agreement with Caterpillar on November 26,

2012, which was Amended in conjunction with the Permanent Loan Note on or about November

11, 2013 (collectively, the “Loan Agreement”). See id.

         9.        To secure payment of all sums due under the Permanent Loan Note and Loan

Agreement, OMC, as mortgagor, duly executed and delivered to Caterpillar, as mortgagee, a first

preferred ship mortgage dated November 11, 2013 (the “Preferred Ship Mortgage”) on the




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Vessel, her engines, boilers, tackle, apparel, etc. securing the sum of $10,332,000, all as more

fully described therein. See id.

         10.       The Preferred Ship Mortgage was received for recordation by the U.S. Coast

Guard at the National Vessel Document Center on or about November 13, 2013, and recorded in

Batch Number 15676400, Document ID Number 2. Recordation of the Preferred Ship Mortgage

is evidenced in the Abstract of Title dated January 29, 2019. See id.at Ex. 5.

         11.       At the time the Preferred Ship Mortgage was executed, the Vessel was, and still

remains, duly licensed and enrolled under the laws of the United States, having its home in port

in New Orleans, Louisiana. See id.

         12.       All of the acts and things required to be done by 46 U.S.C. § 31322 in order to

give the Preferred Ship Mortgage the status of a first preferred ship mortgage and ranking

maritime lien, were done or caused to be done, by Caterpillar or by the U.S. Coast Guard. See id.

         13.       OMC was obligated to repay the Loan in full to Caterpillar on March 1, 2018.

OMC has failed to repay the Loan in full, and therefore, is in default of the Permanent Loan Note

and Loan Agreement. The balance due on the Permanent Loan Note as of September 17, 2019 is

$7,950,963.60, plus interest, attorneys’ fees and costs (all of which continue to accrue). See

Affidavit of Amounts Due, attached as Exhibit I.

         14.       Section 7.01(a) of the Loan Agreement defines an “Event of Default,” as default

by OMC “in the payment of any principal or interest hereunder, or on any Note or any other

Obligation when it becomes due hereunder or under any Note or any other Loan Documents

(whether at maturity, by reason of notice of prepayment or acceleration or otherwise)”. See id. at

Ex. 3, § 7.01.




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         15.       The Loan Agreement further provides that in the event that any installment on the

Permanent Loan Note is not paid when due, Caterpillar “shall further have the right, at its sole

option, to accelerate the maturity and insist upon immediate payment in full of the unpaid

principal balance and all accrued interest then outstanding under the Loan (including additional

interest accrued on past due payments and any prepayment premium, as provided herein),

together with Lender’s legal fees, costs, expenses and other fees and charges, as provided

herein.” See id. at Ex. 3, § 7.03.

         16.       Because OMC has failed to repay the Loan in full on March 1, 2018, Caterpillar

has declared and does hereby further declared OMC to be in default of its payment obligations

under the Permanent Loan Note, Loan Agreement, and Preferred Ship Mortgage. The balance

due on the Permanent Loan Agreement as of September 17, 2019 is $7,950,963.60 plus interest,

attorneys’ fees, and costs (which continue to accrue). See Exhibit I.

         17.       Under the Preferred Ship Mortgage, Caterpillar is authorized to “[e]xercise all of

the rights and remedies in foreclosure or public or private sale and otherwise given to

mortgagees or secured parties by laws of the United States of America or other applicable

provisions of law, including but not limited to, the Ship Mortgage Act of 1990 (46 U.S.C.

§30101 et seq.) and the law (including the Uniform Commercial Code) of any jurisdiction in

which the Vessel may be found; to bring suit at law, in equity or admiralty, at its discretion, to

recover judgment for the Obligations, in rem or in personam and seek collection and satisfaction

of same.” See id. at Ex. 4, at Article 9 (i).

         18.       Further, Caterpillar is authorized under the Preferred Ship Mortgage to “[t]ake

and enter into possession of the Vessel at any time wherever the same may be, without legal




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process,” and OMC is obligated “upon demand of [Caterpillar] [to] surrender to [Caterpillar]

possession of the Vessel” at no cost to Caterpillar.” See id. at Ex. 4, at Article 9(ii)-(iii).

         19.       Additionally, Caterpillar is authorized under the Preferred Ship Mortgage to

“collect and retain all hire, freights, earnings, issues, revenues, income, profits, return of

premiums… and all other sums due or to become due in respect to the Vessel … from any person

whomsoever” to satisfy the unpaid debt (id. Ex. 4 at Article 9(ii)); and to “[e]xercise all rights,

privileges and remedies in foreclosure or otherwise given the [Caterpillar] by any other

instrument securing” OMC’s debt obligations to Caterpillar (id. Ex. 4 at Article 9(iv)), which

includes the right under the Loan Agreement to “demand, collect, receive, compromise and sure

for… all freight, hire, earnings, issues, revenues, income and profits of the Vessel … and all

other sums thereafter due or to become due in respect of the Vessel… from any person

whomsoever” (id. Ex. 3, Article 12).

                            Underlying Litigation and Expired Forbearance Agreement

         20.       Because OMC is in default under the Permanent Loan Note, Loan Agreement and

Preferred Ship Mortgage, Caterpillar is seeking a judgment rendered against the Vessel, OMC,

and Guarantors for all sums due under the Loan, and to have the Vessel seized, and sold at a

judicial sale to be conducted by the United States Marshal, and have the proceeds of such sale

distributed to Caterpillar. See id.

         21.       Caterpillar filed the Underlying Litigation in the Eastern District of Louisiana on

February 4, 2019. Subsequently, on February 5, 2019 the Eastern District of Louisiana signed an

Order granting Caterpillar’s Motion for Issuance of Warrant in rem and a Warrant for the seizure

of the Vessel. See Order Granting Caterpillar’s Motion for Issuance of Warrant in rem attached

as Exhibit B and Warrant of Vessel Seizure attached as Exhibit C. The United States Marshal




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was at this time (and remains) unable to serve the Warrant of Vessel Seizure because the vessel

was offshore. On information and belief, Caterpillar believes that OMC has endeavored to keep

the vessel offshore, only returning in the middle of night and on weekends when the United

States Marshal will not serve the arrest warrant, to avoid service of the vessel arrest warrant and

the in rem jurisdiction of the Eastern District of Louisiana over the Vessel.

         22.       During the pendency of the Underlying Litigation, Caterpillar entered into a

Forbearance Agreement with OMC (inter alia) in an effort to afford additional time for OMC to

pay its debts to Caterpillar in full on or before June 30, 2019 (which deadline was extended

through July 31, 2019); and agreed in the Forbearance Agreement that it would voluntarily

relinquish the Vessel to the possession of Caterpillar if the debt was not timely paid in full as

required by the Forbearance Agreement. See Underlying Litigation, Doc. No. 18-9.

         23.       However, OMC has failed to pay its indebtedness to Caterpillar as required by the

Forbearance Agreement (as well as the Permanent Loan Note, Loan Agreement, and Preferred

Ship Mortgage); has likewise refused voluntary relinquishment of the Vessel as required by the

Forbearance Agreement (as well as the Permanent Loan Note, Loan Agreement, and Preferred

Ship Mortgage); and continues to avoid service by the U.S. Marshal of the arrest warrant issued

in the Underlying Litigation by keeping the Vessel offshore.

         24.       Caterpillar has sought default judgment against OMC in the Underlying Litigation

as OMC has not answered or otherwise appeared to respond thereto. See Underlying Litigation at

Doc. No. 18.

         25.       Due to OMC’s defaults, the balance due and owing on the Permanent Loan Note

and Loan Agreement as of September 17, 2019 is $7,950,963.60 plus interest, attorneys’ fees,

and costs (which continue to accrue). See Exhibit I.




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                                  OMC’s Assets Present in Houston, Texas.

         26.        Caterpillar has investigated OMC’s regular business activities. These

investigations have provided Caterpillar with information that debts are due and owing by

Garnishee Arena, to OMC. Based on Caterpillar’s investigation, the Vessel at issue has been

continuously chartered since February 5, 2015 by Arena under a Master Time Charter agreement

between Arena and OMC. See Master Time Charter Agreement attached as Exhibit E and

communications from Arena to Caterpillar’s Counsel attached as Exhibit F. On information and

belief, Arena presently owes OMC debts totaling $582,099.04 as of September 24, 2019 under

this Master Time Charter Agreement, as well as additional charter hire amounts that have

accrued and will continue to accrue as the Vessel remains working for Arena pursuant to the

Master Time Charter Agreement. See Proofs of Payment from Arena to OMC, attached as

Exhibit G.

         27.       Under the terms of the Permanent Loan Note, Loan Agreement, and Preferred

Ship Mortgage (as set forth at ¶`19 supra) Caterpillar is entitled to demand, collect, receive and

retain these charter hire amounts and all other sums due or to become due in respect to the Vessel

and owed by Arena to OMC.

                       CLAIM FOR RULE B GARNISHMENT AND ATTACHMENT

         28.       Caterpillar incorporates and realleges paragraphs 1 through 27 herein by

reference.

         29.       OMC and Guarantors are not present and cannot be found in the Southern District

of Texas within the meaning of Rule B of the Supplemental Rules for Certain Admiralty or

Maritime Claims; however, property belonging to OMC, namely debts owed by Arena under the




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Master Time Charter between OMC and Arena are and will be at all pertinent times within the

Southern District of Texas. See Declaration attached as Exhibit D.

         30.       OMC is believed to have certain intangible personal property, namely debts owed

by Arena in the Southern District of Texas, which is subject to Rule B attachment as security for

Plaintiff’s maritime claims in the Underlying Litigation; and which Caterpillar is contractually

entitled (pursuant to the Permanent Loan Note, Loan Agreement, and Preferred Ship Mortgage)

to demand, collect, receive and retain from Arena. A copy of the outstanding invoices from

OMC to Arena evidencing debts/monies owed from Arena to OMC, and a summary of the

outstanding invoices, are attached as Exhibits H and G respectively. Moreover, additional

amounts owed from Arena to OMC are and/or will become due during the pendency of these

proceedings pursuant to the terms of the Master Time Charter (Exhibit E).

         31.       Because this Verified Complaint sets forth a valid in personam maritime claim

against OMC, a defendant that cannot be found within the District, the requirements for a Rule B

Garnishment and Attachment of the monies owed by Arena to OMC are met.

         32.       Further, Plaintiff seeks attachment of monies owed by Arena to OMC pursuant to

Rule B and Rule E of the Supplemental Rules for Admiralty and Maritime Claims and Asset

Forfeiture Actions, for the purpose of obtaining security for its in personam maritime claims

against OMC in the Underlying Litigation.

                   ALLEGATIONS REGARDING APPLICABLE LAW AND FORUM

         33.       Plaintiff affirmatively acknowledge that the merits of its underlying action against

the Vessel and Defendants are governed by U.S. maritime law and further that the U.S. District

Court for the Eastern District of Louisiana is the appropriate venue for Plaintiff’s claims against

the Vessel, OMC, and Guarantors. Nonetheless, given OMC’s avoidance of service of the arrest




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warrant for the Vessel precluding in rem jurisdiction over the Vessel, and Plaintiff’s resulting

inability to perfect in rem jurisdiction over the Vessel to obtain contractually and statutorily

guaranteed security for its claims, Plaintiff invokes this Court’s admiralty and maritime

jurisdiction, as well as the maritime procedures and special relief provided for in Rule B of the

Supplemental Rules for Certain Admiralty and Maritime Claims of the Federal Rules of Civil

Procedure, for the garnishment of the debts owed to OMC by Arena and to secure its in

personam claims against OMC and Guarantor.

                                       CONCLUSION AND PRAYER

         34.       Wherefore, Plaintiff, Caterpillar Financial Services Corporation, prays:

                   a.     That process in due form of law, according to the practice of this
                   Honorable Court in cases of admiralty and maritime jurisdiction, issue against the
                   Defendants, citing them to appear and answer under oath all the matters alleged in
                   this Verified Complaint;

                   b.      That this Court enter an Order authorizing the Issuance of Process of
                   Maritime Attachment and Garnishment directing any and all garnishees to garnish
                   any tangible or intangible personal property in their possession, custody, or
                   control belonging to the Defendant;

                   c.     And to grant Plaintiff such other and further relief as may be just,
                   equitable and proper.

09/30/2019
                                                      BAKER DONELSON BEARMAN
                                                      CALDWELL & BERKOWITZ, PC

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